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                                           U.S. Department of Justice

                                           United States Attorney
                                           Eastern District of Missouri

                                           Criminal Division
                                           Violent Crime Unit
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                                           St. Louis, MO 63102               EMAIL: t.rea@usdoj.gov

                                       September 25, 2015

VIA ELECTRONIC MAIL AND
ELECTRONIC SERVICE
William Lucco
Christopher Threlkeld
Lucco, Brown, Threlkeld & Dawson LLP
224 Saint Louis Street
Post Office Box 539
Edwardsville, Illinois 62025

        In re: United States v. Anthony Jordan
               Cause No. 4:15 CR 404 HEA (NAB)

Messrs. Lucco and Threlkeld:

       Enclosed please find discovery in the above-referenced matter. In order to assist you in
the determination of any relevant pretrial motions to be filed in this case, please be aware of the
following information:

        1.     DISCOVERY - The United States agrees to provide you with all relevant material
within the purview of Federal Rule of Criminal Procedure 16.

        2.      ELECTRONIC SURVEILLANCE - The United States did not utilize electronic
surveillance in the investigation underlying the charges set forth in the indictment.

      3.       CONFIDENTIAL INFORMANTS - The United States did not utilize a confidential
informant in the course of the investigation of this matter.

       4.      JENCKS MATERIAL - The United States agrees to make all Jencks material
available no later than the Friday preceding trial, conditioned upon the defendant's agreement
to produce simultaneously statements of the defendant's witnesses.

       5.       GRAND JURY TRANSCRIPTS - The United States agrees to produce, and make
available for inspection, all Grand Jury transcripts to the extent they constitute Jencks material.
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         6.     OTHER CRIMES EVIDENCE - The United States agrees to advise the defendant
of its intention to use evidence of other crimes during its case-in-chief. The United States agrees
to make this disclosure prior to the trial of this cause.

       7.    STATEMENTS OF DEFENDANT - The United States is aware of post-arrest
statements made by the defendant.

        8.      IDENTIFICATION OF DEFENDANT - The United States is unaware of any post-
arrest identification of the defendant.

        9.     PHYSICAL EVIDENCE - The United States possesses items of physical evidence
seized from the defendant. These items are available for inspection upon request.

        10.    FAVORABLE EVIDENCE - The United States agrees to furnish any and all
favorable evidence to the defendant if and when its existence becomes known to the United
States. At the present time, the United States does not have any favorable evidence.

       11.     EXPERT WITNESSES - Pursuant to Rule 16(a)(1)(G) of the Federal Rules of
Criminal Procedure, the United States intends to introduce expert testimony of the following
witnesses: firearms examiner, DNA analyst, latent fingerprint examiner, and a drug distribution
expert among others. A summary of expert testimony will be provided before trial.

       The following information is contained within this preliminary disclosure:

Reports: December 29, 2013, homicide
Report: Office of the Medical Examiner regarding Walker
Report: Office of the Medical Examiner regarding Parker
Photographs: December 29, 2013, homicide scene
Reports: January 21, 2014, homicide
Report: Office of the Medical Examiner regarding Gridiron
Photographs: January 21, 2014, homicide scene
Search Warrant: 4223 Sacramento
Search Warrant: 4217 Sacramento
Search Warrant: Audi make, A6 model vehicle
Search Warrant: Black Infiniti make vehicle
Court Order: Cellular Telephone Number 314-783-1267
Search Warrant: 64 Brighton Park Drive
Search Warrant: 2006 white Jeep SRT
Search Warrant: 2005 green Pontiac Grand Prix
Search Warrant: 2004 red Pontiac Coupe
Search Warrant: 2004 black Chevrolet Silverado SS
Photographs: Search warrant executions
Report: 64 Brighton Park Drive search
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       If you need any further specific information regarding the above matters, or any other
matters which will prevent the filing and litigation of any unnecessary pretrial motions, please
do not hesitate to contact me.

                                          *      *       *

       In order to avoid the need of filing motions pursuant to Rules 12.1(a), 16 and 26, of
Federal Rules of Criminal Procedure, the United States makes the following requests:

       A.       The defendant provide a written notice of the defendant's intention to offer a
defense of alibi, stating the specific place or places at which the defendant claims to have been at
the time of the alleged offense and the names and addresses of the witnesses upon whom the
defendant intends to rely to establish such alibi;

       B.     The defendant provide the United States, or permit the United States to inspect
and copy or photograph books, papers, documents, photographs, tangible objects, or copies
thereof, which are within the possession, custody or control of the defendant and which the
defendant intends to introduce as evidence in chief at trial;

         C.       The defendant provide the United States, or permit the United States to inspect
and copy or photograph any results or reports of physical or mental examinations and of
scientific tests or experiments made in connection with the particular case, or copies thereof,
within the possession or control of the defendant, which the defendant intends to introduce as
evidence in chief at the trial or which were prepared by a witness whom the defendant intends to
call at the trial when the results or reports relate to his testimony.

       D.      The defendant provide the United States a written summary of testimony the
defendant intends to use under Rules 702, 703 and 705 of the Federal Rules of Evidence as
evidence at trial. This summary must describe the opinions of the witnesses, the bases and
reasons therefor and the witnesses' qualifications.

         E.      The defendant provide to the United States all statements of any defense witness
that is in their possession and that relates to the subject matter to which the witness will testify.

       The United States requests that we receive the information regarding alibi requested in
Section A no later than the date of the suppression hearing. The United States would also
request that you provide all information regarding Section E no later than noon on the Friday
preceding trial to eliminate any delay in the trial of this cause.

      I would appreciate a written response prior to any pretrial motion hearing to determine
whether I will have to file formal requests for a court order to enforce discovery compliance.
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      Thank you in advance for your anticipated cooperation.

                                       Very truly yours,

                                       /s/ Thomas Rea

                                        THOMAS REA
                               Assistant United States Attorney

cc:   Clerk, United States District Court (w/o encls.)
